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                      UNITED STATES DISTRICT COURT
                                                                      FILED
                      EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division                      SEP - 9 2019
 CSX TRANSPORTATION, INC.                                      CLERK, U.S. DISTRICT COURT
                                                                      NORFOLK. VA
 individually and on behalf of
 Norfolk & Portsmouth Belt Line
 Railroad Company,

                  Plaintiff,
 V.                                                      Civil No. 2:18cv530


 Norfolk Southern Railway Company,
 Norfolk & Portsmouth Belt Line
 Railway Company,
 Jerry Hall,
 Thomas Hurlbut,
 Philip Merrilli,
 Cannon Moss,


                  Defendants.




                              OPINION AND ORDER


      This   matter   is   before     the   Court   on   the    following        four

 Motions to Dismiss:


   • (1) motion filed by Defendant Norfolk & Portsmouth Belt
     Line Railway Company (''Belt Line"), pursuant to Federal
     Rule of Civil Procedure 12(b)(6) and 49 U.S.C. § 10501(b),
      ECF No. 27;
   • (2)     motion   filed      by   Defendant     Cannon     Moss      ("Moss"),
      pursuant to Federal Rules of Civil Procedure 12(b)(1) and
      12(b)(6), ECF No. 29;
   • (3) motion filed by Defendants Jerry Hall ("Hall"), Thomas
     Hurlbut ("Hurlbut"), Philip Merrilli ("Merrilli"),^ pursuant
      to Federal Rule of Civil Procedure 12(b)(6) and 28 U.S.C. §
      1367(c), ECF No. 31;




1 Defendants Moss, Hall, Hurlbut, and Merrilli will be collectively referred
to as "Individual Defendants."
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     • and (4) motion filed by Defendant Norfolk Southern Railway
       Company ("NS" or "Norfolk Southern") pursuant to Federal
          Rule of Civil Procedure 12(b)(6), ECF No. 34.2

 For the reasons stated below. Defendants' Motions to Dismiss are

 DENIED, except           with respect to Belt Line's             motion to dismiss

 Count VII (tortious interference with a business expectancy) on

 the basis that Plaintiff has failed to state a claim, which is

 GRANTED.


                          I. FACTUAL and PROCEDURAL HISTORY^


          Plaintiff CSX Transportation, Inc. ("Plaintiff" or "CSX")

 is a railroad that operates in the eastern United States and

 Canada.       Compl., ECF No. 1 H 7.                Norfolk Southern is also a

 railroad operating in the eastern United States and Canada.                           Id.

 H   8.      In 1896,        eight railroads,        including      CSX and Norfolk

 Southern's        predecessors         in   interest,   joined    together    to     form

 Belt Line.          Id.     K    15.        Belt Line is a terminal switching

 railroad that operates in the Hampton Roads area of Virginia.

 Id.      nil 9, 15, 20.         Belt Line's purpose was to connect the eight

 owner-railroads' tracks (and traffic carried by the railroads)

 2 Defendants Belt Line, Moss, Hall, Hurlbut, Merrilli, and Norfolk Southern
 will be collectively referred to as "Defendants."

 3 A motion to dismiss under Rule 12(b)(6) is generally limited to a review of
 the allegations in the complaint itself. Goines v. Valley Cmty. Servs. Ed.,
 822 F.3d 159, 165-66 (4th Cir. 2016). However, courts may consider documents
 that are attached to the complaint as exhibits.     Fed. R. Civ. P. 10(c).
 Thus, the facts recited here are drawn from              the   Complaint and attached
 exhibits.    They are assumed true only to decide the motion to dismiss.              The
 facts    stated   here    are   not    factual findings for    any purpose   other   than
 consideration of the pending motions.           See Erickson v. Pardus, 551 U.S. 89,
 94 (2007) ("[W]hen iruling on a defendant's motion to dismiss, a judge must
 accept as true all of the factual allegations contained in the complaint.").
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 to various marine teinninals located along Belt Line's tracks.

 Id. Hi/ 15.         In 1917/ Belt Line established a connection from

 several      owner-railroads'    tracks       to       the   Norfolk    International


 Terminals C'NIT").         Id. H 1.      NIT is one of the largest marine

 terminal facilities in Virginia and one of the largest terminals

 on the East Coast.      Id. H 20.

        To govern this arrangement/ the owner-railroads signed the

 Belt   Line    Operating    Agreement     in    1897/        which   sets    forth     the

 ownership     and   operation   of     Belt    Line      and    various     duties     and

 obligations of the shareholders.              Id. H 16/ see also Ex. A.                The

 Belt Line Operating Agreement provides that Belt Line would be a

 ''separate     organization     in    which    all       [railroads]        are   to    be

 equally interested and each to have an equal representation."

 Compl. H 17; Ex. A at 1.             Specifically/ the Operating Agreement

 provides that each shareholder "shall have one representative on

 the Board" of Belt Line.              Compl.       H    17; Ex. A at 1-2.              The

 Operating Agreement further provides that each shareholder must

 "co-operate cordially in encouraging the business of the [Belt

 Line] for which it is constructed."                    Compl. H 18; Ex. A at 4.

 The Operating Agreement also states that Belt Line anticipates

 that   its    shareholders    will    deliver      to    Belt    Line   all   railroad

 cars that the shareholders cannot serve directly.                       Compl. H 18;

 Ex. A at 6 H 10.        CSX alleges the Operating Agreement provided

 CSX with an expectation that Belt Line will provide it with an
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 efficient means of interchanging its traffic, including, without

 limitation, to and from the NIT.                      Compl.       K    18; Ex. A at 6

 (providing that Belt Line "shall perform the service for which

 it was built and said Company be directly responsible for the

 competent and efficient discharge of its every obligation to the

 parties   hereto").          Finally,       the    Operating       Agreement           provides

 that   the     members      of    the     Belt    Line    Board        of    Directors        are


 obligated      to    vote    for       "such     resolutions,          by-laws        or    other

 proceedings      as    may       be    necessary    to    carry        into      effect       the

 agreements made in" the Belt Line Operating Agreement.                                 Compl. H

 19; Ex. A at 6.

        As a result of mergers and acquisitions among the original

 eight railroads, by the end of the 20th century, only three Belt

 Line member-owners remained; CSX, Norfolk and Western Railway

 Company, and the Southern Railway Company.                        Compl. HH 2, 21.             In

 a   Supplemental       Agreement          dated    March     1,        1989,         the    three

 remaining shareholders agreed to reapportion the board seats:

 CSX was afforded the right to appoint two representatives to the

 Belt Line Board of Directors, and the other two companies were

 afforded the right to appoint three representatives to the Belt

 Line   Board    collectively.             Id.        2,     22;    Ex.       C   H    1.      The

 Supplemental        Agreement         further    provided    that,          other     than    the

 reapportionment,       "[n]othing         herein    shall     be       deemed        to    amend.
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 alter,    or     affect       any    other      provision     of    the    [Belt         Line]

 Agreement."         Id. H 22; Ex. C H 2.

        Subsequently, Norfolk and Western Railway Company and the

 Southern Railway Company merged to form Norfolk Southern.                                Id. f

 23.    The new company owns 57% of Belt Line, and CSX owns 43%.

 Per the revised 1996 Belt Line By-Laws, NS is able to appoint

 four voting members to the Belt Line Board of Directors and CSX

 appoints two.         Id. ^ 23.          CSX alleges that for at least the past

 ten years, NS has inserted former NS employees in all management

 positions      of     Belt    Line       and   appointed     current      or   former       NS

 employees in four of the six Belt Line Board of Directors voting

 positions and one non-voting director position.                           Id. H 2, 26.

 Individual Defendants Hall, Hurlbut, and Merilli are all current

 NS employees and three of the current voting members of the Belt

 Line    Board    of        Directors      appointed    by    NS.     Id.       ^    10,    26.

 Defendant Moss is             the fourth voting        member of the               Belt Line

 Board appointed by NS, the President and General Manager of Belt

 Line since 2011, and is a former employee of NS.                        Id. Hf 10, 27.

 Moss's predecessor, David Stinson, was also a former NS employee

 and    returned       to    work    at    NS   after   his    tenure      as   Belt       Line


 President.        Id. H 27.            Donna Coleman, the current non-voting

 member   of     the    Board    of     Directors   and      Vice   President        of    Belt

 Line, is also a former employee of NS.                      Id. H 27.      In addition.
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 Bill O'Brien, the current Terminal Superintendent of Belt Line,

 is also a former employee of NS.              Id.

        CSX alleges that Norfolk Southern has abused its position

 as     majority      shareholder,        colluding        with     the       Individual

 Defendants and Belt Line to deny competitors access to NIT.                           Id.

 Ht 3, 20, 25.        Norfolk Southern is able to access NIT directly

 via Norfolk Southern's tracks.                Other railroads can only access

 NIT    through     Belt   Line's   tracks       because    these      tracks    connect

 Norfolk      Southern's      railroad    tracks       leading    to   NIT     with    the

 tracks of other railroads.              See Map, ECF No. 1-2.            CSX alleges

 that Norfolk Southern, through its control of Belt Line,                              has

 blocked access to NIT by others.                Id.    Defendants have allegedly

 done    so    by    causing     Belt     Line    to     establish      and     maintain

 unreasonably high rates for its switch services for intermodal

 freight,4 which are dramatically higher than rates charged by

 comparable railroads.          Id. f 34.        The rate was set in 2009, over

 the objection of the Belt Line board members not appointed by

 NS.    I^ H 34.

        Defendants' actions are alleged to have adversely affected

 commerce     in    Hampton    Roads     and   Virginia.         The   Virginia       Port

 Authority has allegedly indicated that NIT would benefit from

 multiple rail carriers being able to access NIT because it would



 * Intermodal refers to the use of two modes of freight, such as ship and rail,
 to transport goods from shipper to consignee.         Compl. at 3 n.l.
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 allow more    volume      to be moved at competitive prices, and has

 requested that Belt Line "facilitate dual [rail] access [by CSX

 and NS]    for handling containers at NIT," because Belt Line's

 current failure to provide "proper access to NIT by CSX puts

 Virginia at a competitive disadvantage."               Id. HH 4, 36.

       The only recent example of CSX actually utilizing Belt Line

 to access NIT occurred in 2015 when, due to closures of other

 ports     around    the     country,   NIT    was     inundated    with     excess

 containers.        Because of customer demand, CSX was forced to pay

 the high rate charged by Belt Line.                  This was the only period

 where CSX could pay the high rates, and that was only because

 the other port closures caused all costs associated with ocean

 shipping    to     temporarily      skyrocket.        Under     normal    business

 conditions.      Belt     Line's    rate   and   its       operating     procedures

 preclude competitor access to NIT.            Id. H 4.

      Defendants have allegedly further rejected any proposal to

 address    Belt     Line's    financial      state    or     Norfolk    Southern's

 control of Belt Line.           In advance of the April 18, 2018 Belt

 Line Board and stockholders meetings, CSX presented a Service

 Proposal    that    would    have   significantly      and    rapidly    increased

 Belt Line's revenue and operating income by nearly doubling the

 volume of cars that Belt Line moves annually.                   Id. H 38.      The

 proposal included a lower switch rate per car with a guarantee

 of a minimum annual volume, with CSX moving 18,000 cars to or
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 from NIT, and it would have purportedly generated approximately

 $1,440,000      annually      in    incremental     revenue       and    potentially

 $660,000 annually in incremental operating income for Belt Line.

 Id.   H   39.     CSX    alleges Individual Defendants and Belt Line

 Management refused to form an independent committee to evaluate

 the   proposal     or    allow     a   formal    vote,    and    thus    effectively

 rejected it.           Id. H 40.       Additionally, in response to CSX's

 proposal.       Moss     revealed      that     Defendants       were    considering

 entering into a new agreement that effectively would impose a

 substantial increase in charges paid to NS for Belt Line's usage

 of its rights of access to NS's track, and which would, in turn,

 reduce the profitability of intermodal service for Belt Line,

 thus increasing costs to Belt Line's customers.                   Id. H 41.

       CSX   has   also    allegedly proposed,        both       before   and   at   the

 April 2018 Belt Line Board and shareholders' meetings, several

 remedial    actions      to   address     defects    in   Belt     Line's      current


 corporate governance structure. Id. H 67.                 These proposals would

 have permitted each shareholder to designate only one individual

 for election as a director; permitted the shareholders to elect

 four independent directors to the Belt Line Board; and permitted

 the Board and shareholders to implement a plan for an orderly

 transition to independent management.                Id. H 68-69.           CSX also

 identified and proposed to NS eight candidates for election as

 independent directors to fill the remaining four positions on
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 the     Belt      Line      Board.           Id.        71.            CSX's          shareholder


 representative made a motion for the Belt Line Board to adopt

 CSX's    proposals.            Id.      H    70.      CSX    alleges            the     Individual

 Defendants rejected CSX's governance proposal in its entirety,

 voted    against       CSX's       motion,     refused      to    nominate             (much        less

 elect)      any    independent          directors,      and      instead          elected           four

 directors      designated          by   NS    (three    current            NS    employees           and

 Defendant Cannon Moss) and only two directors designated by CSX.

 Id. K 72.         Donna Coleman who is also alleged to have an interest

 in NS, was also elected as a non-voting director.                                Id.

       As further evidence of this alleged collusion, CSX asserts

 that the management of Belt Line all have NS email addresses,

 which they use to conduct the business of the Belt Line, id. K

 28,   and      for     at   least       12   years,     every         president          and        vice

 president of Belt Line was a former NS employee.                                 Id. f 29.          All

 of    the    Individual        Defendants           allegedly         have        interests          in

 furthering        Norfolk      Southern's           interests         in        their        role    as

 directors         of   Belt     Line,        with    the      expectation               of     future

 employment and remuneration from Norfolk Southern.                                      Id. ^ 30.

 In 2010, Belt Line refused to accept CSX's offer to provide its

 locomotives        and      fuel     free     of    charge       to    Belt        Line,        while

 accepting a lease or contract to use NS's locomotives without

 competitive bidding.               Id. H 46.         In 2008, Belt Line commenced

 the sale of property in Norfolk and attempted to sell property
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 in     Portsmouth.              The    sale    of       Norfolk    property          would     have

 constrained Belt Line's access to NIT and the sale of Portsmouth

 property would have constrained CSX to its own intermodal yard

 in Portsmouth.            Belt Line also gave up its access rights to the

 track between NS Juncture and Carolina Juncture (the "diamond"

 track).       Doing so has required Belt Line trains to be moved into

 a trainyard controlled by NS.

         CSX    alleges          this     collusion         by     Belt       Line     management

 represents a breach of the contractual duty owed by Belt Line to

 CSX.     CSX also alleges that Individual Defendants are in breach

 of their fiduciary duties to Belt Line.                           Id. K 3, 32, 37.           This

 hurts Belt Line because Belt Line's operating revenue is derived

 principally from switch operations, which is dependent upon the

 switch services being provided to the shareholders' companies,

 who in turn pay for those services.                        Id. K 33.         Although NIT has

 been rapidly expanding and                    increasing         its   revenues in recent

 years    due       to    increased       shipping.        Belt     Line's      revenues      have

 tellingly remained flat or decreased.                             Id.    tt 3,       37.     Belt

 Line's rail car volume has been essentially flat for years, and

 decreased      in       2017.     Current      car      volume   on    the   Belt     Line   as a

 whole is heavily dependent on a single customer (not at NIT)

 engaged       in    a    single       line    of    business.          No    new     sources    of

 substantial and recurring business for Belt Line have been added

 in recent years, nor do any appear to be planned.                                   Moreover, no

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 excess    cash    flow     is   being     generated      that      could    be    used      for

 capital    expenditures         for   maintenance,        upgrades,        or    expansion.

 Id. H 37.

         CSX filed the Complaint beginning this suit on October 4,

 2018.    ECF No. 1.        CSX makes the following claims:

    • Count I, conspiracy to restrain trade, in violation of 15

       U.S.C. § 1, against Defendants Norfolk Southern and Belt

       Line;

    • Count    II,      conspiracy        to    monopolize,      in    violation        of   15

       U.S.C. § 2, against Defendants Norfolk Southern and Belt

       Line;

    • Count III, monopolization, in violation of 15 U.S.C. § 2,

       against Norfolk Southern;

    • Count    IV,      attempted      monopolization,           in    violation        of   15

       U.S.C. § 2, against Defendant Norfolk Southern;

    • Count V, breach of contract, against Norfolk Southern;

    • Count       VI,   a      derivative       claim    in    CSX's    capacity        as    a

       shareholder        in    Belt   Line,        pursuant   to     Va.   Code    §   13.1-

       672.1, for breach of fiduciary duties, against Individual

       Defendants Hall, Hurlbut, Merilli, and Moss;

    • Count       VII,         tortious        interference         with     a     business

       expectancy, against Norfolk Southern and Belt Line;




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    • Count VIII, statutory business conspiracy, in violation of

        Va.    Code    §   18.2-499,   against        Norfolk    Southern      and   Belt

        Line;

    • and Count IX, civil conspiracy, against Norfolk Southern

        and Belt Line.


 On November 27, 2018, Defendants filed their respective motions

 to dismiss.          Belt Line seeks to dismiss all counts against it

 (Counts      I,    II,    VII,   VIII,   and      IX).      In    its    motion       and

 accompanying memorandum. Belt Line argues that all such counts

 must   be    dismissed     because;   1)    CSX    cannot      force   Belt    Line   to

 accept its proposed rate, 2) all counts are preempted by the

 jurisdiction of the Surface Transportation Board under 49 U.S.C.

 § 10501(b), or alternatively, 3) the case should be held in

 abeyance     to permit the        ongoing      STB    proceedings       to    conclude,

 4) the federal claims against it (Counts I and II) must be

 dismissed because a parent and majority-owned subsidiary cannot

 conspire with each other, 5) the state law claims—Counts VII,

 VIII, IX—are time barred, and 6) because CSX fails to state a

 claim.


        In its own individual motion and accompanying memorandum,

 Norfolk Southern also argues that: 1) the state law claims are

 time barred, 2) the breach of contract claim (Count V) fails

 because      CSX   fails    to   identify     a   covenant       in    the   Operating

 Agreement that NS          has breached, 3)       CSX fails to state a claim

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 for tortious interference because NS is a party to the Operating

 Agreement      and    the      economic        loss        rule   bars       a     tortious

 interference claim.          NS's motion does not seek to dismiss Counts


 I-IV, the federal claims.

        In   their     separate       motion     and      accompanying        memorandum,

 Defendants Hall, Hurlbut, and Merilli argue that CSX fails to

 state a claim for breach of fiduciary duty, and the Court should

 decline to exercise supplemental jurisdiction.                         In his separate

 motion and accompanying memorandum. Defendant Moss argues that:

 1) the Court lacks subject matter jurisdiction over Count VI, as

 the breach of fiduciary duty does not arise from the same case

 or controversy as CSX's federal claims, 2) even if the Court has

 jurisdiction,        it     should    decline         to     exercise     supplemental

 jurisdiction, and 3) CSX fails to state a claim for breach of

 fiduciary duty.

        Plaintiff filed a response to each of the motions, ECF Nos.

 39-42, and Defendants filed their respective replies, ECF Nos.

 44-47.      Having been fully briefed, the motions to dismiss are

 ripe     for   review.         The     Court       has      reviewed     the       parties'

 submissions     and       concludes   that     a    hearing       is   not       necessary.

 Local Civil Rule 7(J); Fed. R. Civ. P. 78.




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                             II. STANDARD OF REVIEW


                                 A. Rule 12(b)(1)

        Belt Line and Defendant Moss challenge the jurisdiction of

 the   Court over various counts.               These arguments are properly-

 considered under Fed. R. Civ. P. 12(b)(1).

        A    motion     to   dismiss      for      lack   of   subject       matter

 jurisdiction, pursuant to Rule 12(b)(1) of the Federal Rules of

 Civil Procedure, may attack a complaint on its face, insofar as

 the complaint fails to allege facts upon which the court can

 base jurisdiction, or it may attack the truth of any underlying

 jurisdictional allegations contained in the complaint.                     Beck v.

 McDonald, 848 F.3d 262, 270 (4th Cir. 2017); Adams v. Bain, 697

 F.2d 1213, 1219 (4th Cir. 1982).               In the former situation, known

 as a facial challenge, the court is required to accept all of

 the complaint's factual allegations as true, "and the plaintiff,

 in effect, is        afforded    the    same    procedural protection as he

 would receive under a 12(b)(6) consideration."                   Adams, 697 F.2d

 at 1219.


        In the latter situation, involving a challenge to the truth

 of    the   jurisdictional      allegations,      also   known    as   a   factual

 challenge, "the district court may regard the pleadings as mere

 evidence    on   the   issue    and    may    consider   evidence    outside   the

 pleadings."      Velasco v. Gov't of Indonesia, 370 F.3d 392, 398

 (4th Cir. 2004) (citing Adams, 697 F.2d at 1219).                   In explaining

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 how   district   courts      should    evaluate      evidence      presented    in   a

 factual challenge, the United States Court of Appeals for the

 Fourth   Circuit     has   indicated    that    it    depends      on   whether     the

 jurisdictional     facts     are   intertwined       with    the    merits     facts.

 Kerns v. United States, 585 F.3d 187, 196 {4th Cir. 2009).                        When

 jurisdictional facts are not intertwined                 with the        merits, the

 trial court may weigh evidence and resolve factual disputes to

 determine its jurisdiction.            See Arbaugh v. Y&H Corp., 546 U.S.

 500, 514 (2006); Adams, 697 F.2d at 1219.                   In such a case, the

 plaintiff    bears     the    burden    of     proving      jurisdiction       by    a

 preponderance    of    the   evidence    and    may    present ''affidavit[s],

 depositions or live testimony" to meet its burden.                        Adams, 697

 F.2d at 1219; accord United States ex rel. Vuyyuru v. Jadhav,

 555 F.3d 337, 437-48 (4th Cir. 2009).                 When jurisdictional and

 merits facts are intertwined, "[i]t is the better view that . .

 . the entire factual dispute is appropriately resolved only by a

 proceeding on the merits."              Adams, 697 F.2d at 1219; accord

 Kerns, 585 F.3d at 193, 196.

                                B. Rule 12(b)(6)

       Defendants all seek to dismiss the various counts pursuant

 to Fed. R. Civ. P. 12(b)(6).           The well-established Rule 12(b)(6)

 standard of review permits dismissal when a complaint fails "to

 state a claim upon which relief can be granted."                        Fed. R. Civ.

 P. 12(b)(6).     A complaint fails to state a claim if it does not

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  allege    "enough       facts    to    state       a     claim    to      relief      that   is

  plausible on its face."               Bell Atl. Corp. v. Twombly^                     550 U.S.

  544, 570 (2007).         Although a complaint need not be detailed, the

 "[f]actual allegations must be enough to raise a right to relief

 above     the    speculative      level."           Id.    at    555;    see      Ashcroft    v.

 Iqbal, 556 U.S. 662, 678 (2009).

       A motion to dismiss tests the sufficiency of a complaint

  without resolving factual disputes, and a district court "'must

 accept as true all of the factual allegations contained in the

 complaint' and 'draw all reasonable inferences in favor of the

 plaintiff.'"            Kensington      Volunteer         Fire    Dep't      v.    Montgomery

 Cty.,     684    F.3d    462,    467    (4th    Cir.      2012)    (citation        omitted).

 Although the truth of the facts alleged is presumed, district

 courts are not bound by the "legal conclusions drawn from the

 facts"     and    "need    not    accept       as   true     unwarranted          inferences,

 unreasonable conclusions, or arguments."                          E. Shore Mkts., Inc.

 V. Assocs. Ltd. P'ship, 213 F.3d 175, 180 (4th Cir. 2000); see

 Iqbal,     556    U.S.    at    678    (citing       Twombly,      550      U.S.    at    555).

 "Threadbare       recitals       of    the   elements       of    a     cause     of    action,

 supported        by   mere      conclusory        statements,         do    not     suffice."

 Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).                                     To

 suirvive a motion to dismiss under Rule 12(b)(6), "a complaint

 must include 'more than an unadorned, the-defendant-unlawfully-



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 hamed-me      accusation.'"          Johnson       v.    Am.   Towers,      LLC,    781   F.3d

 693, 709 (4th Cir. 2015) (quoting Iqbal, 556 U.S. at 678).

       A motion to dismiss pursuant to Rule 12(b)(6) must be read

 in conjunction        with Federal Rule of                   Civil Procedure 8(a)(2).

 Rule 8(a)(2) requires only "a short and plain statement of the

 claim showing that the pleader is entitled to relief," Fed. R.

 Civ. P. 8(a)(2), so as to ". . . give the defendant fair notice

 of what the . . . claim is and the grounds upon which it rests.

 . . ."      Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355

 U.S. 41, 47 (1957)).              Fair notice is provided by setting forth

 enough facts for the complaint to be "plausible on its face" and

 "raise   a    right    to    relief       above   the    speculative         level on       the

 assumption that all the allegations in the complaint are true

 (even    if   doubtful       in    fact).    .    .     ."     Id.    at    555    (internal

 citations omitted).

       And     as   discussed       supra    n.3,      pursuant       to    Rule    12(d),    if

 matters outside the pleadings are submitted in conjunction with

 or in opposition to a 12(b)(6) motion, the court generally must

 either exclude such materials from consideration or convert the


 motion into a motion for summary judgment.                                Fed. R. Civ. P.

 12(d).        However,      a     court    may    consider       matters      outside       the

 pleadings expressly relied on in a complaint.                              See Lorenzo v.

 Rumsfeld,     456     F.    Supp.    2d    731,    734       (E.D.   Va.    2006)    (citing

 Phillips V. LCI Int'l, Inc., 190 F.3d 609, 618 (4th Cir. 1999))

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 (finding    that      at    the         12(b)(6)        stage,       "a    court    can   consider

 documents       outside        of    the       pleadings,            without    converting           the

 motion to one for summary judgment, so long as the documents are

 integral to and explicitly relied on in the complaint."); Davis

 V. George Mason Univ., 395 F. Supp. 2d 331, 335 (E.D. Va. 2005)

 (quoting Gasner v. County Dinwiddie, 162 F.R.D. 280, 282 (E.D.

 Va.   1995))      ("In     the       Eastern         District         of    Virginia,     'when       a

 plaintiff fails to introduce a pertinent document as part of his

 complaint, the defendant may attach the document to a motion to

 dismiss    the     complaint             and    the       Court      may    consider      the       same

 without converting the motion to one for summary judgment.'").

       Where a party has made both a Rule 12(b)(1) motion and a

 Rule 12(b)(6) motion, a court should address the 12(b)(1) issue

 first.      5B    Charles        Alan         Wright      & Arthur         R.   Miller,    Federal

 Practice    and    Procedure             §    1350    (3d      ed.    2004).        If   the    court

 concludes       there      is       no       subject       matter      jurisdiction,           it    is

 appropriate      to     avoid       a     decision        on    the    Rule     12(b)(6)       motion

 because    finding         the      absence          of    subject         matter    jurisdiction

 results    in     dismissal          of      the     complaint,           thereby    mooting        the

 remaining defenses and other arguments about the validity of the

 claims alleged.          Id.




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                                   III. DISCUSSION


       Belt    Line   is    the    only    party    that     seeks   to    dismiss     the

 federal claims.        The Court begins by addressing Belt Line's four

 arguments that the federal claims should be dismissed.

                            A. All Claims - Belt Line


       Belt Line makes two arguments that all claims against it

 should   be    dismissed:        first,    that    the     claims   against    it     are

 preempted by proceedings before the Surface Transportation Board

 («STB") and second. Belt Line appears to make an argument that

 CSX has failed to state any claim                  because Belt Line has not

 committed a wrongful act.

                                    1. Preemption

       First,    Belt      Line    argues    that     the    Court    does    not     have

 subject matter jurisdiction over any of the counts against it

 because they are expressly preempted by the Interstate Commerce

 Commission Termination Act of 1995 ("ICCTA").                   The ICCTA created

 the STB.


       The STB is an economic regulatory agency that Congress
       charged with the fundamental missions of resolving
       railroad rate and service disputes and reviewing
       proposed railroad mergers. The STB is decisionally
       independent,    although   it    is    administratively
       affiliated with the Department of Transportation.

 Overview       of    the         STB,      Surface       Transportation         Board,

 https://www.stb.gov/stb/about/overview.html.                        The     ICCTA,    in




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 particular 49 U.S.C. § 10501(b), grants exclusive jurisdiction

 to the STB over:


        (1) transportation by rail carriers, and the remedies
        provided   in  this   part  with  respect   to   rates,
        classifications,    rules  (including   car    service,
        interchange, and other operating rules), practices,
        routes, services, and facilities of such carriers; and

        (2)   the    construction,  acquisition,  operation,
        abandonment, or discontinuance of spur, industrial,
        team, switching, or side tracks, or facilities, even
        if the tracks are located, or intended to be located,
        entirely in one State,

 49 U.S.C. § 10501(b).               As alleged in the Complaint, Belt Line

 and Norfolk Southern have negotiated an increase in the charges

 Belt    Line      would    pay    to    Norfolk     Southern    to    access    Norfolk

 Southern's tracks that lead to the NIT.                    Compl. H 41.       The Court

 notes that on July 25, 2019, Belt Line notified the Court that

 the    STB   decided       to    hold   its    related     proceeding    in    abeyance

 pending      resolution     of     this federal court proceeding              including

 any appeals.         ECF No. 61.         Norfolk Southern has petitioned the

 STB for reconsideration.               ECF No. 63.


        In    any    event.       Belt    Line's     jurisdictional      argument        is

 meritless.        The U.S. Court of Appeals for the Fourth Circuit has

 found   that       the    express      preemption    clause    under    49     U.S.C.   §

 10501(b)       preempts     regulation        of    the    railroad    industry    with

 respect      to    rates,       locations,    and    the    operation    of    railroad

 tracks by state           and    local governments.          PCS   Phosphate     Co.    v.

 Norfolk S. Corp., 559 F.Sd 212, 218-19 (4th Cir. 2009).                         The STB


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 also    interprets     this    provision         to     preempt      state      and    local

 actions    that impact       the    regulation        of    railroads.          See    Green

 Mountain      R.R.   Corp.    v.    Vermont,      404      F.3d   638,    642    (2d    Cir.

 2005); Adrian & Blissfield Ry. Co. v. Vill. of Blissfield, 550

 F.3d 533, 540 (6th Cir. 2008) (citing CSX Transp., Inc.—Petition

 for Declaratory Order,             2005 WL 1024490, at *2 (S.T.B. May 3,

 2005)   (the    two ''broad        categories"        of   actions      preempted      by   §

 10501(b) are "state and local actions . . . denying a railroad

 the ability to conduct some part of its operations or to proceed

 with activities that the Board has authorized . . . [and any]

 state or local regulation of matters directly regulated by the

 Board—such as        the   construction,         operation,       and    abandonment of

 rail lines; railroad mergers, line acquisitions, and other forms

 of consolidation; and railroad rates and service.")).                            Belt Line

 has not cited any case that supports the proposition that the

 ICCTA preempts other federal statutes like the antitrust claims

 before the Court.


        Even    assuming      the     ICCTA       could      preempt      other     federal

 statutes, with respect to both the federal and state law claims

 that are      pled against Belt Line,              courts     have      recognized      that

 "Congress     narrowly tailored the              ICCTA     preemption     provision to

 displace      only 'regulation,'        i.e.,      those      state      laws    that   may

 reasonably      be    said    to     have    the      effect      of     'managing'         or

 'governing' rail transportation,                 while permitting the continued

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 application of laws having a more remote or incidental effect on

 rail transportation."       Fla. E. Coast Ry. Co. v. City of W. Palm

 Beach, 266 F.3d 1324, 1331 (11th Cir. 2001) (quoting Black's Law

 Dictionary 1286 (6th ed. 1990)) (emphasis added).                        The Fourth

 Circuit has found that "voluntary agreements" entered into by

 private    railroad    companies   "are       not    presumptively        regulatory

 acts,"    and   are   generally   not   preempted          by   the   statute.     PCS

 Phosphate, 559 F.3d at 218-19 ("If contracts were by definition

 'regulation,'     then   enforcement         of    every    contract     with    'rail

 transportation' as its subject would be preempted as a state law

 remedy 'with respect to regulation of rail transportation.'").

 Thus, when considering a preemption argument involving the STB,

 courts begin with a presumption that the acts are non-regulatory

 if they result from a private agreement like a contract, but

 courts must also look at whether the "allegations, if pursued,

 would directly interfere with the STB's exclusive jurisdiction"

 over the regulation of railroads.                 PCS Phosphate Co. v. Norfolk

 S. Corp., 520 F. Supp. 2d 705, 717 (E.D.N.C. 2007), aff'd, 559

 F.3d 212 (4th Cir. 2009) (phosphate mining company brought claim

 against defendant railroad for misleading, unfair, and coercive

 threats to abandon a railroad line which plaintiff's business

 depended on; STB proceedings also adjudicated whether defendant

 railroad could abandon the railroad line, and thus, preempted

 the claim).


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        Here, the owner-shareholder companies, including Plaintiff

 and Norfolk Southern, formed Belt Line through contract.                            This

 is   the    type   of ''voluntary agreement" among             parties       that the

 Fourth Circuit has explained is not a "presumptively regulatory

 act."      PCS Phosphate, 559 F.3d at 218-19.                Moreover, Belt Line

 has not overcome the presumption, that a voluntary agreement is

 not regulatory,         by demonstrating that the various federal and

 state law claims would affect the STB's exclusive jurisdiction

 over the regulation of railroads.                  The question before the STB

 is whether to approve the increased rate that Norfolk Southern

 will charge Belt Line for use of NS's tracks in the future.                         The

 question     before     this    Court    is   whether   Belt   Line    and    Norfolk

 Southern engaged in illegal conduct up to this point in time

 that    violated,        for     instance,       federal     antitrust       laws    or

 constituted        a   state    law     business     conspiracy   or     breach      of

 contract (in particular, by setting the Uniform Rate charged to

 access NIT too high in order to deter competition).                    If CSX were

 to   prevail     in    this    Court on    the     federal   antitrust   claims      or

 state law business conspiracy claims in this suit, this Court

 may award damages for CSX's previous losses or injunctive relief

 to prevent       Norfolk Southern and Belt Line from               continuing to

 carry      out   such    an    antitrust      or    business   conspiracy.           In

 particular, the injunctive relief would prevent "Defendants from

 continuing to commit the above referenced violations of federal

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 and state law," restore CSX's shareholder rights, establish an

 independent board structure, and/or require approval of                              CSX's

 service     proposal.       Compl.,       Prayer for Relief.               That is,      any

 injunctive       relief    may    prevent      Defendants       from       continuing     to

 engage      in   the    conspiracy        or    make    changes       to    Belt    Line's

 governance.         However,      the     STB's    jurisdiction            would   not   be

 affected; that is, the STB may still approve or disapprove the

 pending rate increase that Norfolk Southern would charge Belt

 Line in the future.


        In   contrast,      in    the     earliest      PCS     Phosphate      case,      the

 district court found,            inter alia,        that the         plaintiff's     claim

 brought     under      North     Carolina's       unfair       and    deceptive      trade

 practices law, which was based in tort, sought treble damages

 for    defendants'        threats    to    abandon      a    railroad       line.        PCS


 Phosphate, 520 F. Supp. 2d at 717.                     If the court addressed the

 question of whether defendants had to continue operation of a

 railroad track, the court would have to adjudicate an issue that

 was    within    the   exclusive       jurisdiction       of    the    STB—namely,       the

 abandonment       of      railroad        lines     (and       resultant       damages).

 Therefore, the tort claim "managed" or "governed" the regulation

 of railroads, and the Court held that the ICCTA preempted state

 tort law on this issue.                Id. ("These allegations, if pursued,

 would directly interfere with the STB's exclusive jurisdiction

 over     the     abandonment        of    railroad       tracks.            Accordingly,

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 plaintiff's         UDTPA     claim    is    preempted.").           The   court       in   PCS

 Phosphate also found that the plaintiff's claims for breach of

 contract, breach of an easement, and unjust enrichment did not

 intrude on the STB's jurisdiction because they related to prior

 conduct and agreements formed by the parties.                              PCS Phosphate,

 520 F. Supp. 2d at 716 ( [T] he court holds that section 10501(b)

 does not preempt plaintiff's breach of contract and breach of

 easement covenants claims.                  These claims concern the performance

 of    obligations        under      contracts      voluntarily       negotiated        by   the

 parties' predecessors in interest and do not have the effect of

 preventing          or        unreasonably          interfering           with        railroad

 operations.").              Here,     for    those     same     reasons,       the     various

 federal and state law claims do not intrude on the issue before


 the    STB,   which      is    compensation        paid     by Belt     Line     to    Norfolk

 Southern to use Norfolk Southern's tracks.


        For    the    reasons     stated       above,      the   Court     finds      that   the

 claims against STB are not preempted by the ICCTA, and there is

 no compelling reason to stay this action.

                                       2. The Proposal

        Second, Belt Line             argues that all the             counts against it

 must    be    dismissed        because      Belt     Line     has   not    committed        any

 wrongful      act.       Specifically,         Belt    Line     notes     that    it    cannot

 accept CSX's proposal to allow CSX to access NIT at a lower rate

 than    Belt    Line's         Uniform       Rate     without       violating         its   own

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 Operating Agreement, and Belt Line charged CSX the Unifonn Rate

 to access NIT.^


          At the     outset,    the      Court    notes     that,   to   the    extent      that

 Belt      Line     is     making    a    merits        argument,   such      an     issue      is

 inappropriate to resolve on a 12(b)(6) motion.                          Gellman v. State

 of Md., 538 F.2d 603, 606 (4th Cir. 1976).                         Moreover, it is not

 clear     what     claims    Belt       Line    asks    this   Court    to   dismiss      as   a


 result of its purported inability to accept CSX's rate proposal.

 To the extent that Belt Line argues that CSX has failed to state

 a claim        against Belt Line for antitrust conspiracy, tortious

 interference, and conspiracy under state law, these arguments

 will     be    addressed       in   depth       below     as   Belt     Line    makes      more

 specific 12(b)(6) arguments.                    However, the Court briefly notes

 at this juncture that Belt Line apparently misunderstands CSX's

 proposal regarding the rate as alleged in the Complaint.                                   Belt

 Line's        Operating     Agreement          does    state    that    Belt      Line     must

 provide a uniform rate for all shareholders.                          ECF No. 1-1 at 3-4

 ^ 9.          However, neither the Complaint nor the rate proposal

 attached to the Complaint, which CSX proposed in 2018, states

 that CSX is seeking a lower preferential rate, below the Uniform

 Rate,      for     only    itself.         The       service    proposal       states      that

     [p]resently, the Belt Line's switch rate of $210 per car is an


 ®   As   further   discussed   below,     the    Individual    Defendants    make   a    similar
 unavailing argument in seeking to dismiss the shareholder derivative claims
 alleged against them.

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  economic barrier that prevents CSXT from being able to move any-

  meaningful port freight by rail at NIT. . . .                            Accordingly, CSXT

  proposes    the     following,      all      to    be    memorialized          in    a   formal

 agreement:       One-way    rate        of    $37.50      per   container            (empty     or

 loaded) for a term of three years on movements handled by the

 Belt Line between Berkley Yard and NIT."                              EOF No, 1-5.             The

 service proposal does not state that the rate would be lowered

 for only CSX.         The lowered rate is not limited to CSX, at least

 as alleged in the Complaint and the rate proposal, but rather

 applies to any traffic by any company on Belt Line's tracks

 between     ^'Berkley Yard and NIT."                  Compl.      H   39; ECF No. 1-5.

 Therefore, the proposal is within the power of Belt Line and its

 directors      to    accept,       and       does   not     appear        to     violate       the

 Operating Agreement.           It appears that CSX is not alleging it

 should    have      been   given    a    preferential        rate,        but    that     it   is

 alleging the Uniform Rate is set too high in order to benefit

 Norfolk Southern's interests at the expense of Belt Line's own

 interests      and    CSX's    interests.                Compl.       H    41.        Although

 ultimately a merits question, courts have found that rejecting

 proposals which are in a company's own interest and within the

 company's power to accept may be evidence of, for instance, an

 antitrust      conspiracy.         See,       e.g.,      SourceOne        Dental,     Inc.     v.

 Patterson Companies, Inc., 310 F. Supp. 3d 346, 357 (E.D.N.Y.

 2018)    (in     denying     summary         judgment,      the       court      found     that

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  ^^evidence that shows that the parallel acts were against the

  apparent      individual       economic       self-interest          of     the     alleged

  conspirators" is evidence of ''a common motive to conspire").                              As

  CSX is not arguing that Belt Line unlawfully failed to give CSX

  a   preferential      rate,     but    that      Belt   Line's     rejection        of    the

  proposed reduced uniform rate is evidence of wrongdoing, Belt

  Line's argument, that the claims should be dismissed because CSX

 is seeking a preferential rate, misses the mark and seeks to

 dismiss a claim that was never asserted.

        For the general reasons stated above, the Court finds that

 CSX has adequately alleged some form of wrongdoing by Belt Line

 that can support a claim.                   The Court further addresses below

 Belt Line's 12(b)(6) arguments specific to each claim.

                  B. Federal Antitrust Claims - Belt Line


        Next,    the     Court     addresses         Belt     Line's        two     remaining

 arguments specific to Counts I-IV, the federal antitrust claims.

                                 1. Parent-Subsidiary

       Belt     Line    argues    that    Plaintiff         has   failed     to     state    an

 antitrust claim because Norfolk Southern is the parent company

 of Belt Line, and cannot conspire with a subsidiary.                             Thus, Belt

 Line argues the antitrust conspiracy counts fail.

       The    Supreme     Court    has       held   that     a    corporation        and    its

 wholly   owned        subsidiary,      as    well    as     a    corporation        and    an

 unincorporated division, must be viewed as a single entity for

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 purposes      of    §    1     of    the    Sherman        Act,   and     therefore     cannot

 conspire with each other.                   Copperweld Corp. v. Independence Tube

 Corp., 467 U.S. 752, 770-71 (1984).                          The Court reasoned that,

 unlike concerted conduct among otherwise independent entities,

 which presents substantial anticompetitive risk and is therefore

 closely       scrutinized            by     the     Sherman       Act,     the       internally

 coordinated conduct of a parent and its subsidiary presents no

 such risk because that conduct is basically assumed by one actor

 pursuing the economic interests of a single firm.                              Id. ("[Tjhere

 can     be    little         doubt    that        the   operations        of     a   corporate

 enterprise      organized            into    divisions       must    be    judged      as    the

 conduct of a single actor. . . .                        A division within a corporate

 structure pursues the common interests of the whole rather than

 interests separate from those of the corporation itself."). That

 is,     [a] § 1 agreement may be found when the conspirators had a

 unity of purpose or a common design and understanding, or a

 meeting of minds in an unlawful arrangement.                              But in reality a

 parent and a wholly owned subsidiary always have a unity of

 purpose or a common design.                  They share a common purpose whether

 or not the parent keeps a tight rein over the subsidiary; the

 parent may assert full control at any moment if the subsidiaiiy

 fails    to   act       in    the    parent's       best    interests."          Id.    at   771

 (internal citations and quotations omitted).




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       Copperweld's     bright-line        rule   is   limited    to    antitrust

 conspiracies     between a   parent       corporation and a       wholly-owned

 subsidiaiiy.     However,    even    if    the    subsidiary is       not    wholly

 owned, courts have found that some related corporations, such as

 parents and majority-owned subsidiaries or "sister" subsidiaries

 of a common parent, have a sufficient unity of interest that

 they are incapable of conspiring for purposes of § 1 of the

 Sherman Act.     Siegel Transfer, Inc. v. Carrier Express, Inc., 54

 F.3d 1125, 1135 (3d Cir. 1995) (applying Copperweld and finding

 a "unity of interest" between corporation and its subcontractor

 hired to carry out "day-to-day" functions); City of Mt. Pleasant

 V. Associated Elec. Coop., Inc., 838 F.2d 268, 276-77 (8th Cir.

 1988); Hood V. Tenneco Texas Life Ins. Co., 739 F.2d 1012, 1015

 (5th Cir. 1984); see also Oksanen v. Page Mem'1 Hosp., 945 F.2d

 696, 706 (4th Cir. 1991) ("We recognize that a medical staff can

 be   comprised    of   physicians     with       independent    and    at    times

 competing economic interests.             As a result, when these actors

 join together to take action among themselves, they are unlike a

 single entity and therefore they have the capacity to conspire

 as a matter of law.").

       A sufficient unity of interest to prevent the formation of

 an antitrust conspiracy may be found               when the parent owns a

 substantial    majority of     the   subsidiary's      stock.         See,   e.g.,

 Rohlfing v. Manor Care, Inc., 172 F.R.D. 330, 344 (N.D. 111.

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 1997) {in finding unity of interest between sister subsidiaries

 where a parent company owned 100% of one subsidiary and 82.3% of

 another, court stated that "[s]uch a unity of interest is very

 likely to be found when the parent owns a substantial majority

 the subsidiary's stock.").                   In determining whether parent and

 majority-owned subsidiaries can conspire for antitrust purposes,

 courts    also      look     at    whether     the     parent      and       subsidiary          are

 inextricably        intertwined         in    the   same        corporate      mission,          are

 bound    by   the     same    interests       which       are    affected       by    the       same

 occurrences,        and      exist      to    accomplish         essentially          the       same

 objectives.         For example, a parent that does not wholly own a

 subsidiary      but    nevertheless           asserts      total    dominion          over      its

 actions, by way of management control, contractual obligations,

 economic      incentives,         or    otherwise,        is    probably       incapable          of

 conspiring     with       that     subsidiary       for    purposes       of    §     1    of    the

 Sherman Act.        Williams v. I.E. Fischer Nevada, 999 F.2d 445, 447

 (9th Cir. 1993) (affirming summary judgment decision that held a

 franchisor and franchisee were a "common enterprise" incapable

 of    conspiring      to     restrain        trade);      Siegel,       54     F.3d       at    1135

 (affirming summary judgment and finding unity of interest where

 one     corporation        was     an     "inseparable          part"    of     the       other's

 management).

        Here, it is alleged that Norfolk Southern is the majority

 shareholder      of    Belt       Line.      However,      it is        also    alleged         that

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 Norfolk Southern only owns 57% of Belt Line, which is below what

 other    courts     have   found     necessary       to   find    ''a   substantial

 majority."      Compl. K 23; see, e.g., Siegel Transfer, Inc. v.

 Carrier Exp., Inc., 54 F.3d 1125, 1133 (3d Cir. 1995) ("Although

 Bethlehem Steel did not own .08% of the Railroad's stock, the

 difference between its 99.92% ownership and the 100% ownership

 in Copperweld is de minimus.").                 Moreover, while it is alleged

 that Norfolk Southern has managed to insert current or former NS

 employees in Belt Line management positions, id. H 38, it cannot

 be    said   that   Norfolk   Southern      exerts    total   dominion,        as    CSX

 still retains the right to appoint two of the directors.                       Id.

 2, 23, 26; see, e.g.. Freeman v. San Diego Ass'n of Realtors,

 322 F.3d 1133, 1146 (9th            Cir.    2003), as amended on denial of

 reh'g (Apr. 24, 2003) (finding that competitor associations that

 separately appointed directors to a corporation were not part of

 a common enterprise).

        Another important reason that the Court cannot grant the

 motion to dismiss, on the grounds that a parent and majority-

 owned subsidiary cannot conspire for antitrust purposes, is that

 the    Plaintiff    alleges   that    Norfolk      Southern      and    Belt    Line's

 interests diverge.         Compl.       3, 24, 25, 32, 48, 112.                Because

 Norfolk Southern allegedly conspired with Belt Line to maintain

 an inflated switch service rate in order to exclude competitor

 railways,     and   because   Norfolk      Southern is     able    to access        NIT

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 through its own tracks, Norfolk Southern benefits by retaining a

 monopoly allowing             it      to    handle          all   of    the    freight from        NIT.

 Even if other railroads paid the inflated switch service rate to

 Belt    Line      in       order      to    access          NIT,       Norfolk    Southern        still

 benefits because Belt Line, in turn, pays Norfolk Southern an

 inflated price for access to Norfolk Southern's tracks to NIT.

 Id.    HH   34,     41.       However,               this    hurts      Belt     Line's       interests

 because Belt Line is charged higher fees by Norfolk Southern,

 which are passed on to its customers, and other railroads are

 less   likely       to     use     Belt      Line's         tracks,       reducing      Belt     Line's

 volume.        If      a    competitor           railway          were    to     use    Belt     Line's

 services to access NIT, Norfolk Southern still profits from the

 inflated switch rate that Belt Line must pay to use NS's tracks.

 Therefore, Norfolk Southern's interest in maintaining a higher

 switch service rate, so that it can allegedly retain a virtual

 monopoly, diverges from Belt Line's interest in encouraging the

 business     of     Belt      Line         for       which    it    was       formed.         Operating

 Agreement, ECF No. 1-1 H 15 (Belt Line was formed to "ensure

 competition for transportation services" among the railroads.).

        For the reasons stated above. Belt Line's argument that the

 Complaint      alleges           it    is        a    common       enterprise          with    Norfolk




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 Southern,       and      therefore      cannot        conspire          for    the   purposes   of

 antitrust law, fails.®

                                    2. Antitrust Injury-

        Finally, the Court addresses Belt Line's argument that CSX

 has failed to allege an antitrust injury because                                     CSX is not

 alleged to have been denied access to the entire relevant market

 (the Port of Hampton Roads), only NIT, one of several marine

 terminals that form the market.


        In order to state a claim under either § 1 or § 2 of the


 Sherman Act, a plaintiff must allege an "antitrust injury," that

 is,    a   "business        loss     of    the     sort          the    antitrust      laws   were

 designed      to    prevent."           Advanced        Health-Care            Servs.,   Inc.   v.

 Radford Cmty. Hosp., 910 F.2d 139, 149 (4th Cir. 1990); SD3, LLC

 V.    Black   &    Decker     (U.S.)       Inc.,       801       F.3d    412,    432   (4th   Cir.

 2015), as amended on reh'g in part (Oct. 29, 2015) (finding that

 an    antitrust       injury       is     loss    resulting             from    anticompetitive

 effects    of      the    defendant's behavior on the                         plaintiff and     the

 market).      This Court has found that an antitrust injury is not

 limited    to      those    situations       where          a    competitor is         completely

 shut   out    of    an     entire    market,          but       may include       "reduction    of

 output, increase in price, or deterioration in quality."                                      E.I.



 ® The Court notes that most of these cases were decided on summary judgment as
 the determination of whether a parent corporation shares "a unity of
 interest" with a subsidiary is a factual determination. Therefore, the Court
 will not prematurely reach such issue at the motion to dismiss stage of the
 litigation.

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 DuPont de Nemours & Co. v. Kolon Indus., Inc., 688 F. Supp. 2d

 443, 460 (E.D. Va. 2009) (denying motion to dismiss where the

 plaintiff had alleged partial exclusion from market).

        Here, CSX has alleged an antitrust injury.                            Although the

 injury is limited to only NIT, one of several port terminals

 that   form    the    Port       of    Hampton       Roads,   CSX    has   alleged     that,

 because      the    rate    charged      by Belt Line         to potential customers

 like    CSX    to     access          Norfolk    Southern's         tracks    to    NIT   is


 artificially high,           this      has resulted        in reduced        output.      CSX

 also alleges that the Virginia Port Authority has stated that

 the Port would benefit from multiple rail carriers being able to

 access NIT because it would allow more volume to be moved, i.e.

 output has been reduced by the alleged anticompetitive activity.

 Further,      the   artificially and            anticompetitive        high     prices    are

 alleged to be passed on to customers, and such alleged increase

 in price is another form of antitrust injury.                        Id.

        For the reasons stated above, the Court finds that CSX has

 alleged an antitrust injury.

               C. State Tort and Contract Claims - Defendants


                              1. Statute of Limitations


        The    Court        now   turns     to        Defendants'     various       arguments

 regarding CSX's state tort and contract law claims (i.e. Count V

 for breach of contract. Count VII for tortious interference with

 business       expectancy.            Count     VIII      for       statutory      business

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 conspiracy, and Count IX for civil conspiracy).                             As with the

 federal    claims,      the     Court    must      begin     with   challenges     to   its

 jurisdiction; Norfolk Southern and Belt Line both argue that the

 state law claims are time barred, thus depriving this Court of

 jurisdiction.

       Count     V    for     breach    of   contract.      Count     Vll   for    tortious

 interference with business expectancy. Count Vlll for statutory

 business conspiracy, and Count IX for civil conspiracy, are all

 subject to a five-year limitations period.                           Va. Code § 8.01-

 246(2)    (setting forth         statute       of limitations for           breach of a

 written contract); Dunlap v. Cottman Transmission Sys., LLC, 287

 Va.   207,      220-222       (Va.     2014)       (holding     that   the       five-year

 limitations         period    under     Va.    Code    §     8.01-243(B)     applies    to

 claims    for       tortious    interference          with    business      expectancy);

 Detrick v. Panalpina, Inc., 108 F.3d 529, 543 (4th Cir. 1997)

 (applying five-year limitations period under Va. Code § 8.01-

 243(B) to statutory business conspiracy claims); Hurst v. State

 Farm Mut. Auto. Inc. Co., No. 7:05-cv-776, 2007 U.S. Dist. LEXIS

 21172, *17 (W.D. Va. March 23, 2007) (holding that limitations

 period for civil conspiracy is based on limitations period for

 underlying      wrongful       act).        Defendants       argue   that    the   claims

 accrued in 2009,           when Belt Line set the alleged artificially

 high Uniform Rate, and subsequent acts are continuations of the

 first wrongful act.            Plaintiff argues that each subsequent event

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 constitutes a new              wrongful act giving                rise    to each cause        of

 action anew.


        Under Virginia law, the applicable statute of limitations

 accrues separately for each wrongful act.                              L-3 Commc'ns Corp. v.

 Serco, Inc., No. 1:15-CV-701, 2018 WL 1352093, at *5 (E.D. Va.

 Mar. 15, 2018) (applying Virginia law and finding ''any act to

 interfere with the expectancy in each Task Order constituted an

 independent        tort"       with    a    new    statute        of    limitations).         The

 Virginia Supreme Court has distinguished between wrongful acts

 and damages from a single and continuous wrongful act.                                   Hampton

 Roads Sanitation Dist. v. McDonnell, 234 Va. 235, 239 (Va. 1987)

 ("If   the     wrongful act is of a permanent nature and one                                  that

 produces all the damages which can ever result from it, [then]

 the    entire      damages      must       be   recovered         in    one   action   and    the

 statute      of    limitations         begins        to    run    from    the   date     of   the

 wrongful act.            Conversely, when wrongful acts are not continuous

 but    occur      only    at    intervals,        each         occurrence     inflicts    a   new

 injury and gives rise to a new and separate cause of action.");

 accord    Union     Labor      Life    Ins.     Co.       v.   Sheet    Metal   Workers    Nat'l


 Health Plan, No. 90-2728, 1991 WL 212232, at *5 (D.D.C. Sept.

 30, 1991) (Virginia statute of limitations accrued anew                                    where

 "wrongful         acts    or    breaches        of     duty"      occurred      "in    distinct

 intervals or installments, as opposed to being continuous.").




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        Defendants Belt Line and Norfolk Southern singularly focus

 on the establishment of the Uniform Rate in 2008, and argue that

 any damages flow from that singular alleged breach of contract,

 tortious interference, or conspiracy, and thus, actions grounded

 upon these violations are barred by the statute of limitations.

 However, that focus is misplaced.            Here, Plaintiff has alleged

 multiple wrongful acts that may constitute a breach of contract,

 tortious interference with a business expectation, and/or common

 law    or   statutory    conspiracy   within   the   five-year    statute   of

 limitations.       In particular, it is alleged that in 2018, CSX

 presented a proposal to Defendants at the Belt Line Board and

 Stockholders meeting, and the Defendants declined to evaluate or

 vote    upon   such     proposal.     The   Complaint   alleges    that   this

 constituted a new wrongful act, and the statute of limitations

 began accruing        upon the    wrongful act.      New damages flow from

 this wrongful act — the Plaintiff's expectation damages, which

 is what Plaintiff's profits would have been if Defendants had

 accepted     the   proposal   minus   what Plaintiff's       profits   actually

 were.       These damages are distinct from the Defendants' alleged

 2008    wrongful act.       The   damages for the     2008   wrongful act of

 setting the Uniform Rate would be the difference in CSX's profit

 if the parties had set the Uniform Rate at a fair market rate in

 2008 minus CSX's actual profit.             The damages from establishing

 the 2008 Uniform Rate do not encompass the damages sought for

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 other alleged wrongful acts in this action.                               Thus, this is not a

 case     where      a     singular        wrongful       act       results       in   continuing

 damages.        See Kancor Americas, Inc. v. ATC Ingredients, Inc.,

 No. 15-CV00589-GBL-IDD, 2016 WL 740061, at *6 (E.D. Va. Feb. 25,

 2016) (denying summary judgment because                             the    various breach of

 contract, unjust enrichment, and conversion claims were not time

 barred    as     defendant's         failure       to    pay       back    the     money    was    a

 separate act each time defendant failed to pay, giving rise to a

 new    cause     of      action,     as    opposed       to    a     single    act    where       the

 damages       are       pennanent      and     continue            accruing        even    if     the

 defendant does not continue to act wrongfully).

        While it is easy to see how these new actions constitute a

 new act of breaching the contract or tortiously interfering, it

 may be more difficult to see how it is a new act of conspiring

 because the alleged conspirators are the same and the alleged

 motivations are the same.                    However, the Complaint alleges that

 in 2018, Defendants entered into a new agreement to increase the

 amount Belt Line pays to NS to access NS's tracks to NIT.                                         (In

 fact,    this       is    the      subject    of       proceedings         before     the       STB).

 Defendants       Norfolk      Southern       and   Belt       Line    fail    to    address      this


 allegation,         which       reflects      a    new       alleged       conspiracy.           Any

 increase in the price that Norfolk Southern charges Belt Line

 would, in turn, be passed onto Belt Line's customers.                                     That is,

 it    would    lead      to   an   increase       in   the    Uniform      Rate.      The       Court


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 concludes that Plaintiff has alleged a new conspiracy within the

 statute of limitations period; this second attempt to raise the

 Unifonn Rate is not a continuation of the same conspiracy to set

 the Uniform Rate at the 2008 level because the price is again

 increased.         See Forest Lakes Cmty. Ass'n, Inc. v. United Land

 Corp.   of    Am.,      293   Va.    113,    124    (Va.   2017)    (in finding            that

 multiple trespasses occurred, each of which was s\ibject to the

 statute      of    limitations        independently,       the     Supreme       Court      of

 Virginia cautioned courts to distinguish between recurring and

 indefinite        injuries     and    repeated       actions     because       the    latter

 gives rise to causes of action that "look "remarkably like an

 earlier     one    but   is   nonetheless       a   standalone      claim      in    its   own

 right" and the           statute     of limitations        in the       latter scenario

 accrues from the new date of injury).

       For     the       reasons     stated     above,      the     Court    finds          that

 Plaintiff     has       alleged      wrongful       acts   within    the       statute      of

 limitations period.            Therefore, as the claims are not untimely,

 the Court does not lack jurisdiction.

                                2. Breach of Contract


       The Court now turns to Defendants' various arguments about

 the   state       law   claims.       The   Court     begins     with    the    breach      of

 contract claim.           Count V, the breach of contract claim, is only

 alleged against Norfolk Southern.                    Norfolk Southern argues that




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 CSX   fails    to   state    a       claim   because     it   has   not   identified    a


 covenant in the Operating Agreement that NS has breached.

       The contract in question is the Operating Agreement of Belt

 Line, which states that Belt Line would operate "for the mutual

 benefit of each [shareholder] in the interchange of business."

 EOF No. 1-1 at 1.           Norfolk Southern attempts to argue that this

 language      is    merely       a    preamble,        and    not   a    binding   term.

 Plaintiff has alleged that this term is the very overarching

 purpose of the Belt Line agreement.                     The Court does not need to

 determine whether this language constitutes a binding term of

 the   contract      at   the     motion      to    dismiss     stage.       Plaintiff's

 allegation is sufficient to overcome the motion to dismiss, as

 the language is either unambiguous and therefore a discernible

 contract term justifying denial of the motion to dismiss, or it

 is ambiguous such that the motion to dismiss should be denied as

 discovery would be necessary to determine the intention of the

 parties regarding this clause.                  See, e.g., Grubb & Ellis Co. v.

 Corkhill,     No.   l:09-CV-974,         2009     WL   10689439,    at    *1   (E.D.   Va.

 Oct. 15, 2009) (denying motion to dismiss because "[i]n this

 case the Court finds that the language of the contract is not

 unambiguous as the parties clearly interpret various provisions

 of the contract differently.                 Further, the Court believes that

 parol evidence may be necessary to determine the intent behind

 the terms of the contract.").


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         Further,     Plaintiff         notes     that     other     articles      of     the

 Agreement contain covenants Norfolk Southern is alleged to have

 breached, as they state that the parties to the agreement ''will

 co-operate cordially in encouraging the business of the [Belt

 Line] for which it is constructed."                 ECF No. 1-1 at 4.             Contrary

 to Norfolk Southern's assertions, this clause is not indefinite.

 Under     Virginia         law,      cooperation          clauses     are        generally

 enforceable.            See,   e.g.,     Felman    Prod.,      Inc.   v.    Indus.      Risk

 Insurers, No. CIV.A. 3:09-0481, 2011 WL 4543966, at *4 (S.D.W.

 Va.     Sept.     29,     2011)     (finding      that     cooperation       clause       in

 insurance contract was enforceable).                    Here, Norfolk Southern has

 stated no reason why this clause would be any different.

         For   the   reasons     stated    above,    the     motion    to    dismiss     the

 breach of contract claim, on the basis that CSX has failed to

 identify      a   covenant     in   the    Operating       Agreement       that    Norfolk

 Southern has breached, is denied.

          3. Tortious Interference with a Business Expectancy

       Norfolk       Southern      next   argues    that     CSX   fails     to    state   a

 claim    for      tortious     interference        with    a    business     expectancy

 (Count VII) because Norfolk Southern is a party to the Operating

 Agreement and a party may breach, but cannot interfere with, its

 own     contract.         Further,       Norfolk    Southern        argues       that   the

 economic loss rule bars a tortious interference claim.                            For its


 part. Belt Line argues that CSX's alleged business expectancy is

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 a general interest shared by all stockholders and a claim of

 interference with such a business expectation can be brought

 only as a derivative claim.            Next, Belt Line argues that CSX has

 failed to state a valid business expectancy.

       In Virginia, a party may recover for tortious interference

 with a business expectancy if it shows: ^^Ml) the existence of a

 business     relationship      or    expectancy,      with     a   probability      of

 future economic benefit to the plaintiff; (2) the defendant's

 knowledge of the relationship or expectancy; (3) a reasonable

 certainty     that      absent      defendant's       intentional      misconduct,

 plaintiff would have continued in the relationship or realized

 the   expectancy;       and   (4)    damages    to    the     plaintiff.'"         Am.

 Chiropractic Ass'n v. Trigon Healthcare, Inc., 367 F.3d 212, 228

 (4th Cir. 2004) (quoting Commercial Bus. Sys., Inc. v. Halifax

 Corp., 253 Va. 292, 484 S.E.2d 892, 896 (Va. 1997)).

       Both    Belt   Line's    first      argument,    that    there    can   be   no

 tortious     interference     with    a   business     expectancy      because     any

 business expectancy is a general expectation shared by all Belt

 Line stockholders, and Norfolk Southern's first argument, that

 it cannot interfere with a contract to which it is a party,

 suffer   from     similar     defects.         The   business      expectation     in

 question     is   not   the   savings     to   its    shareholders     that   would

 result from Norfolk Southern charging a fair rate to Belt Line

 to access the tracks to NIT, and Belt Line then setting a lower

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 Uniform Rate.        CSX also is not alleging tortious interference

 with the Operating Agreement.                Rather CSX argues that Norfolk

 Southern    and     Belt    Line    have     interfered    with      CSX's    business

 expectancy from third party customers who would have paid CSX to

 transport goods from NIT.                 That is not a general expectation

 shared by all Belt Line stockholders but one that is specific to

 CSX, and Norfolk Southern is not a party to any such anticipated

 business.


         Norfolk   Southern's       second    argument     is    that    the   economic

 loss rule     bars any recovery by CSX for tortious interference

 with a business expectancy.                Under Virginia law, the economic

 loss rule provides that where a person is a party to a contract

 with another and has suffered purely economic losses related to

 the contract, rather than, for instance, physical injuries, that

 person may not recover damages in tort.                   See Blake Construction

 Co. V. Alley, 353 S.E.2d 724, 727 (Va. 1987).                       This is because

 "a   plaintiff      who    suffers    purely    economic        loss   must    sue   in

 contract    and   cannot     sue     in    tort."    Fix       v.   Eakin/Youngentob

 Assocs., Inc., 57 Va. Cir. 149, at *1 {Alexandria City, Va. Cir.

 2001).     That is, the parties' recourse is through the agreement

 that they have signed rather than tort claims.                      Here, CSX and NS

 have entered into a contract: the Operating Agreement of Belt

 Line.     Having only suffered economic damages, the economic loss

 rule     prevents     CSX     from        bringing   a     claim       for    tortious

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 interference, or any other tort, where any damage results from a

 breach of the Operating Agreement.                 However, "[t]he economic

 loss rule does not bar recovery [for] plaintiffs' claim for

 tortious interference with a prospective business or economic

 advantage."       Fix, 57 Va. Cir. at 149.            These damages are not

 related to the contract; therefore, CSX may still bring a tort

 claim although it has only suffered economic loss.                    For these

 reasons, Norfolk Southern's motion to dismiss Count Vll-tortious

 interference with a business expectancy-fails.

         However, Belt Line's second argument, that CSX has failed

 to state a sufficient business expectancy to survive a motion to

 dismiss,    has greater merit.        Courts       have   held that the     mere

 possibility of a future business relationship is not enough to

 satisfy the tort's first and third elements—1) probability of

 future economic benefit to the plaintiff, and 3) but for the

 defendant's misconduct, the plaintiff would have realized the

 expectancy.       Instead, a plaintiff must demonstrate that a future

 economic benefit is objectively probable.                Am. Chiropractic, 367

 F.3d at 228 (citing Commercial Bus. Sys., 484 S.E.2d at 897).

 In Peterbilt of Bristol, Inc. v. Mac Trailers, Mfg., the Western

 District of Virginia found that a local truck dealer failed to

 state a valid claim for tortious interference                   with a business

 expectancy because the complaint alleged merely that an out-of-

 state    dealer    illegally   sold   a    truck    to    one   of   plaintiff's

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 existing      customers,      but        failed      to   allege    that    the        economic

 benefit was objectively probable by demonstrating that but for

 the interference, the customer would have purchased the truck

 from    the     plaintiff     truck       dealer.         No.    1:09CV00058,          2009    WL

 4063663, at *1 (W.D. Va.                 Nov.     23, 2009).        Here,       the    business

 expectancy is even more tenuous than the one in Peterbilt.

        CSX has failed to name or identify an actual third party

 with whom CSX would engage in business.                      CSX alleges that it has

 lost    ''opportunities        for       contracts        with     shipping       partners."

 Compl. H 117.          The Complaint then relies on the Virginia Port

 Authority's assessment that having an additional railroad with

 access     to    NIT    "would       allow        more    volume     to     be        moved   at


 competitive prices," and the fact that CSX is the only other

 railroad that can "provide intermodal services" at NIT.                                 Id.

 4, 36.     These allegations are insufficient to meet the objective

 probability standard set forth in Peterbilt.                         In Peterbilt, the

 third    party     also      had     a     preexisting          business    relationship.

 Similarly,       CSX   has    alleged       a    business       relationship          with    its

 shipping partners         {although they are               unidentified).              2009   WL

 4063663, at *1.           However,        the     plaintiff in Peterbilt did not

 sufficiently allege that the plaintiff would have realized the

 economic benefit.            That is, the plaintiff did not allege that,

 but for the out-of-state competitor's wrongdoing, the customer

 would have purchased the truck from plaintiff.                            Id.     Similarly,

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 CSX has not alleged that it would realize the economic benefit

 by demonstrating, for instance, that its shipping partners also

 use NIT and would engage CSX if CSX were able to access NIT.

 Therefore, the Court finds that Plaintiff has failed to allege a

 plausible claim that it has suffered tortious interference with

 a business expectancy.

       Although CSX does not request leave to amend any defective

 claims,   after   a    dismissal     under Fed.       R.     Civ.   P.    12(b)(6),   a

 court '^normally      will give     plaintiff        leave    to file      an amended

 complaint" because "[t]he federal rule policy of deciding cases

 on the basis of the substantive rights involved rather than on

 technicalities        requires      that       plaintiff       be        given     every

 opportunity       to         cure     a        fomal          defect        in      his

 pleading."    Ostrzenski v. Seigel, 177 F.3d 245, 252-53 (4th Cir.

 1999) (emphasis       omitted).      A    court      may grant such leave           sua

 sponte.    Edwards v. Murphy-Brown, L.L.C., 802 F. Supp. 2d 670,

 673 (E.D. Va. 2011).          However, ''a district court may deny leave

 to amend if the amendment 'would be prejudicial to the opposing

 party, there has been bad faith on the part of the moving party,

 or the amendment would have been futile.'"                    U.S. ex rel. Nathan


 V.   Takeda   Pharm.    N.   Am.,   Inc., 707        F.3d    451,   461     (4th   Cir.

 2013) (quoting Laber         v.   Harvey,      438   F.3d    404,   426     (4th   Cir.

 2006)).




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       Here, there has been no showing of prejudice, bad faith, or

 futility that would result from allowing Plaintiff to amend.

 Thus, Plaintiff is granted leave to amend the Complaint.

                 4. Statutory and Common Law Conspiracy

       Next, Belt Line argues that Counts VIII and IX, alleging

 statutory and common law conspiracy, should be dismissed because

 Belt Line cannot conspire with Norfolk Southern as there can be

 no   conspiracy     between    a      parent   and      its   majority-owned

 subsidiary.     Alternatively, Belt Line argues the conspiracy is

 not plausible.

       Belt Line's first argument rehashes the same argument it

 made with respect to the federal antitrust conspiracy claims,

 except it     attempts   to   apply    the   argument    to   the   state   law

 conspiracy claims.       As explained below, the Court rejects the

 argument for the same reasons discussed above in the antitrust

 conspiracy section.      Compare Havird Oil Co. v. Marathon Oil Co.,

 149 F.3d 283, 292 (4th Cir. 1998) (finding that a parent and a

 non-wholly owned subsidiary could not be considered the same

 entity and therefore, could be liable under South Carolina state

 conspiracy law) with Zimpel v. LVI Energy Recovery Coirp., 23 Va.

 Cir. 423 (Fairfax Cnty., Va Cir. 1991) (finding that because

 subsidiary was wholly owned it could not conspire                   with its

 parent for the purposes of a Virginia state law conspiracy).



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       Like its Copperweld antitrust argument that a parent and

 subsidiary cannot conspire for antitrust purposes, Belt Line

 argues that the Virginia intracorporate immunity doctrine does

 not permit a single entity to conspire for the purposes of

 common law      business or statutory conspiracy.                       The    Virginia

 intracorporate       immunity      doctrine        recognizes      that      conspiracy
 requires two or more persons, and therefore, a single entity,

 like a corporation, cannot conspire with itself.                         To deteirmine

 whether two parties are "a single entity," Virginia courts have

 looked to the U.S. Supreme Court decision in Copperweld.                         Zimpel

 V. LVI Energy Recovery Corp., 23 Va. Cir. 423 (Fairfax Cnty.,

 Va. Cir. 1991) ("The Virginia Civil Conspiracy statute has [like

 in   Copperweld]     been    construed       to   disallow   consideration           of    a

 parent and its wholly owned subsidiary as separate 'persons.'").

       Here,    Belt       Line    cannot      satisfy    the       brightline         rule

 established     in    Copperweld       because     it   is   not    a    wholly-owned

 subsidiary of Norfolk Southern, and CSX alleges that Belt Line

 and Norfolk Southern have divergent interests.                     Further, as with

 federal law,        under   Virginia     law,      whether   two    parties      are      a

 single   entity      is     a    question     of    fact,    and        it    would       be

 inappropriate to resolve that issue definitively at this stage.

 Peterson v. Fairfax Hosp., No. 11188., 1993 WL 946248, at *10

 (Loudoun Cnty., Va. Cir. Sept. 23, 1993) ("The Court has already

 overruled     the    Demurrer     of   the    Defendants     predicated         on    the

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 theory     of   intracorporate      immunity.           Such    a    defense      to    the

 conspiracy Count is best raised at a trial on the merits or by

 way of a motion for summary judgment.").

       Belt Line next argues, with respect to the merits of the

 statutory and common law conspiracy counts, that CSX has failed

 to adequately allege such claims because CSX has not alleged

 Belt Line engaged in any unlawful acts.                   As with the antitrust

 conspiracy      claims.     Belt   Line     argues       that       it   committed       no

 wrongful    act,    and    therefore      all    claims    against          it   must   be

 dismissed.       As discussed above, supra at 25-27, CSX has already

 alleged plausible         wrongful acts, for instance, the failure by

 Belt Line to adopt or even consider CSX's rate proposal.                               This

 is enough to allege a breach by Belt Line of its fiduciary duty

 to shareholders.          Compl. UH 109-113, 114-117; see specifically

 id.   K   116    ("Defendants      NS    and    [Belt    Line]       have    wrongfully

 employed    improper methods in order to intentionally interfere

 with these expectancies, such as unfair competition, breach of

 fiduciary duty by the Individual Defendants, and using Belt Line

 as a means of self-dealing.").             Under Virginia law, a breach of

 fiduciary duty is an unlawful act on which a conspiracy claim

 can rest.       Feddeman & Co., C.P.A., P.C. v. Langan Assocs., P.C.,

 260 Va. 35, 46 (Va. 2000).              Therefore, Plaintiff has alleged at

 least     one   wrongful    act—breach      of   fiduciary          duty    upon   which

 common law and statutory conspiracy claims may rest.                         Therefore,

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 Plaintiff         has     adequately       alleged      common      law    and     statutory

 conspiracy claims.

         For the reasons stated above, Belt Line's motion to dismiss

 the state law conspiracy counts fails.

                                    D. Derivative Claims


                                         1. Jurisdiction


         Finally,        the     Court     addresses    the    Individual      Defendants'

 challenges to Count VI-the shareholder derivative claim.                                   The

 Court begins with Moss's jurisdiction challenge.                              Moss argues

 that Count VI should be dismissed for lack of siabject matter

 jurisdiction because it does not arise out of the same case or

 controversy as the various federal antitrust, state law breach

 of contract, tortious interference and conspiracy claims against

 NS    and    Belt       Line,    and    therefore      provides      no    independent      or

 related basis for jurisdiction.

         The applicable statute provides that federal "courts shall

 have supplemental jurisdiction over all other claims that are so

 related       to        claims     in     the    action       within       such     original

 jurisdiction that they fonn part of the same case or controversy

 under Article III of the United States Constitution."                              28 U.S.C.

 §    1367.        For    the     claims    to   form   part    of    the    same    case    or

 controversy, the claims must "arise from the same set of facts."

 Eriline Co. S.A. v. Johnson, 440 F.3d 648, 653 (4th Cir. 2006).

 Here,       the    shareholder          derivative     claims       are    based    on     the


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 allegations that the Belt Line directors breached their various

 fiduciary duties         by engaging in        the federal antitrust,                state

 breach of contract, and tort conspiracies, with the corporate

 Defendants.       Moss argues that to prove a federal antitrust claim

 will require CSX to introduce expert testimony from economists,

 while    the    derivative        claim   will       require        expert     testimony

 regarding the standard of care required from Virginia corporate

 board members and factual evidence                regarding any violation of

 that standard.


        ''To   determine    whether     state    law    claims        and    federal      law


 claims arise from a common nucleus of operative fact, district

 courts consider whether the claims are based on 'the same facts,

 or involve similar occurrences, witnesses or evidence.'"                            Maria

 V.   Projekt    Prop.     Restoration,     Inc.,      No.    18-CV-61279,         2019    WL

 1116187,      at *2 (S.D.        Fla. Jan.     23,    2019)    (quoting       Hudson v.

 Delta    Airlines,       Inc.,    90   F.3d    451,    455    (11th        Cir.   1996)).

 Although it is true that some elements of                      the various claims

 will    require    different       evidence     in     this    case,       the    factual

 evidence      required    to     demonstrate    that    Belt        Line    and    Norfolk

 Southern       committed         antitrust      and         state      law        business


 conspiracies, and that Moss breached his fiduciary duties, are

 essentially the same.            To prove these claims, CSX will have to

 demonstrate       that    Moss     colluded     with    the     other        Defendants,

 committing wrongful acts that constitute breaches of antitrust

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 and    conspiracy          law    by     Norfolk       Southern         and     Belt    Line,    and

 breaches of fiduciary law by Moss.                              That is, the wrongful act

 that    CSX    alleged       Moss        committed         is    substantially          linked    to

 Norfolk Southern and Belt Line's alleged wrongful act; these

 wrongful acts merely constitute violations of different laws for

 each   of     the   Defendants.            However,        this       demonstrates       that    the

 claims      against       Moss    still        arise    out      of   a   common       nucleus    of

 operative fact as the claims against the other Defendants, in

 particular, the federal antitrust claims alleged against Norfolk

 Southern       and        Belt         Line.           For       these        reasons.     Moss's

 jurisdictional argument fails.

                              2. Failure to State a Claim


        All    Individual          Defendants       argue         that     CSX    has    failed    to

 allege a breach by the directors of their fiduciary duties.

        In Virginia, a director has a duty to act in "good faith"

 and    to    "discharge          his    duties"       in     accordance         with    "the    best

 interests of the corporation."                    Va. Code § 13.1-690(A); see also

 DCG&T ex rel. Battaglia/Ira v. Knight, 68 F. Supp. 3d 579, 587

 (E.D. Va. 2014) (in Virginia, corporate directors must exercise

 good   faith        in    their        dealings       with      the     corporation      and     its

 shareholders).             Directors also owe a duty of loyalty, which

 "forbids the director from placing himself in a position where

 his    individual           interest           clashes       with       his      duty     to     his

 corporation."            Id. (internal quotations omitted).

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         The   Complaint       alleges    three    purported        breaches      of    these

 fiduciary duties: 1) the failure to consider and rejection of

 the service proposal, as to all Individual Defendants, 2) the

 failure to consider and rejection of the governance proposal, as

 to all Individual Defendants, and 3) the failure to staunch the

 deteriorating financial condition of Belt Line, as to Defendant

 Moss.


                                  a. Service Proposal

       Individual Defendants argue that the first purported breach

 cannot be a breach because, if they had accepted the service

 proposal,       they     would    have     violated         Belt    Line's       Operating

 Agreement.       The Operating Agreement states that Belt Line must

 provide a uniform         rate for all shareholders (Norfolk Southern

 and CSX).       Defendants argue that CSX's proposal sought a rate

 for   itself    that    was   lower     than   the   Uniform       Rate   that   was    set.


 However, as already discussed, the Complaint and the attached

 service       proposal    do     not    allege       that    CSX     sought      a     lower

 preferential rate for itself.                  The lowered rate is not limited

 to CSX, but appears to be a proposal for a lower Uniform Rate.

 The proposal states clearly that                  Presently, the [Belt Line's]

 switch rate of $210 per car is an economic barrier that prevents

 CSXT from being able to move any meaningful port freight by rail

 at NIT. . . .          Accordingly, CSXT proposes the following, all to

 be memorialized in a formal agreement: One-way rate of $37.50

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 per container (empty or loaded) for a term of three years on

 movements handled by the [Belt Line] between Berkley Yard and

 NIT."    ECF No. 1-5.


        Nowhere in the proposal or the Complaint does it state that

 the rate would be lowered only for CSX.                     Again, Belt Line and

 its directors had the authority to accept the proposal; however,

 CSX    has   alleged    that   Belt     Line   and    its   directors      failed   to

 accept or even consider the proposal because of a conspiracy to

 keep the Uniform Rate artificially high in order to help Norfolk

 Southern     maintain    monopoly      power   over    traffic      to    NIT.    Such

 allegations are sufficient to allege a plausible breach of a

 director's various fiduciary duties under Virginia law.                           See,

 e.g., Glass v. Glass, 228 Va. 39, 47, 321 S.E.2d 69, 74 (1984)

 (engagement in a civil conspiracy may violate a director's duty

 to act in good faith); In re LandAmerica Fin. Grp., Inc., 470

 B.R. 759, 797 (Bankr. E.D. Va. 2012) (citing Upton v. S. Produce

 Co., 133 S.E. 576, 580 (Va. 1926) (stating that officers may not

 abuse their positions for self-gain and profit as they "owed the

 duty    of    frankness        and     fair    dealing      as      fiduciaries     to

 [shareholders].").

                            b. Governance Proposal

        Because   CSX    has     only    alleged      one    count    of    breach   of

 fiduciary duty, and the Court has found that CSX has alleged a

 plausible breach of fiduciary duty claim with respect to the

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 rejection and failure to consider CSX's service proposal, it is

 not necessary to decide                 whether CSX       has plausibly alleged a

 breach of fiduciary duty based on Individual Defendants' failure

 to consider and rejection of the Governance proposal.                         However,

 the Court briefly addresses each remaining argument.

         With    respect      to     Individual      Defendants'       argument       that

 Plaintiff       failed      to    plausibly      allege    breaches    of    fiduciary

 duties because Individual Defendants did not have the power to

 change    the    corporate        governance     structure    of    Belt    Line,    that

 argument ignores the allegations that the directors individually

 breached       their   duties      by refusing       to    consider the      corporate

 governance proposal at all, and also breached their fiduciary

 duties by refusing to adopt other aspects of the proposal aside

 from changing the process of appointing directors, which were in

 the     directors'       power     to    accept.      See,     e.g.,      Stickley    v.

 Stickley, 43 Va. Cir. 123, at *21 (Rockingham Cnty., Va. Cir.

 1997)    (finding      breach      of    fiduciary    duty    where    officer      acts

 solely for the interest of majority shareholder and inter alia,

 rejects various proposals and requests by minority shareholder).

 Therefore, it appears CSX                has plausibly alleged a breach of

 fiduciary      duty    by    Individual     Defendants,       and   the     motions   to

 dismiss on these grounds are denied.




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                   c. Deteriorating Financial Condition

       Next, Individual Defendant Moss argues that he had no duty

 to act in the financial best interest of Belt Line because Belt

 Line is not a profit maximizing corporation.                Directors of for-

 profit   corporations       have   a   duty   to    maximize   profits.       See

 generally David B.         Guenther,   The Strange     Case    of    the   Missing

 Doctrine    and   the   "Odd   Exercise"      of    Ebay;   Why     Exactly   Must

 Corporations Maximize Profits to Shareholders?, 12 Va. L. & Bus.

 Rev. 427, 429 (2018) (collecting cases).              The Complaint alleges,

 as discussed above, that Belt Line's Operating Agreement states

 the purpose of     the corporation is "for the              mutual benefit of

 each [owner-shareholder] in the interchange of business."                     EOF

 No. 1-1.    This clause plausibly alleges that Belt Line did have

 to maximize profits because maximizing profits may be for the

 mutual benefit of its shareholders.                In that case. Moss has a

 duty to act in the interest of Belt Line's shareholders by

 maximizing profits, and CSX has plausibly alleged that a failure

 by Moss to maximize profits is contrary to the interest of Belt

 Line's shareholders and violative of his fiduciary duties.



   The Court recognizes that there is a debate about the scope of this duty and
 how to maximize profits, as reflected in the most recent Principle of
 Corporate Governance as to the purposes of a corporation, issued by the
 Business Roundtable.   Statement on the Purpose of a Corporation, Business
 Roundtable   (Aug.  19,   2019),  https;//opportunity.businessroiandtable.org/
 ourcommitment; see also Claudine Gartenberg & George Serafeim, 181 Top CEOs
 Have Realized Companies Need a Purpose Beyond Profit, Harv. Bus. Rev., Aug.
 20, 2019, https://hbr.org/2019/08/181-top-ceos-have-realized-companies-need-
 a-purpose-beyond-profit.

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       It is true that directors of                     social, environmental, and

 other charitable organizations do not have a duty to maximize

 profits.      Guenther, supra at 429,                  However, the Complaint does

 not   allege       that   Belt     Line     is    a    social,    environmental,          or

 charitable organization.                 Therefore, based on the allegations,

 the   Court    cannot       conclude      that    Belt    Line    is   not     a    profit-

 maximizing     corporation         per se,       and    that    Moss   did    not owe      a

 fiduciary duty to maximize profits.

       For    the    reasons    stated      above,      the   Individual      Defendants'

 motions to dismiss the derivative claims fail.

                           3. Supplemental Jurisdiction

       Individual Defendants further ask                   the   Court to decline          to

 exercise      supplemental          jurisdiction          over     the       shareholder

 derivative     claims       for    breach    of       fiduciary   duty       because     the

 antitrust claims are already complex and the combination of the

 two in one trial may lead to jury confusion.                       Under 28 U.S.C. §

 1367(c), a district court may decline to exercise supplemental

 jurisdiction if:

       (1) the claim raises a novel or complex issue of State
       law,
       (2) the       claim     substantially           predominates     over        the
       claim    or    claims       over    which   the     district     court       has
       original jurisdiction,
       (3) the      district court has dismissed all claims over
       which it has original jurisdiction, or
       (4) in exceptional circumstances, there are                             other
       compelling reasons for declining jurisdiction.




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 Individual Defendants have not demonstrated any of the factors

 above.      No novel or complex issues of state law are raised; the

 state law claims do not substantially predominate; and the Court

 has   not     dismissed       any   federal    claims.        With    respect       to

 Individual Defendants' argument that the jury would be confused

 by trying all claims together, in these circumstances, such a

 jury confusion argument is not a compelling reason for declining

 jurisdiction as any confusion may be mitigated with careful jury

 instructions.        Wright's Well Control Servs., LLC v. Oceaneering

 Int'l, Inc., No.        CV 15-1720, 2016 WL 740357, at *2 (E.D. La.

 Feb. 25,     2016)    ("In every lawsuit involving             multiple claims,

 jurors    are      required    to   weigh    the   evidence    for    each     claim

 individually, and that obligation will present no undue burden

 on the jury in this case."); Guedry v. Marino, 164 F.R.D. 181,

 186 (E.D. La. 1995) (noting that the risk of jurors becoming

 confused by the "sheer number of claims presented . . . can be

 addressed     by    instructions").         Further,   shareholder        derivative

 claims and antitrust claims are each complex.                       In re Cendant

 Corp.,    Derivative      Action    Litig.,    232     F.   Supp.    2d    327,    337

 (D.N.J.     2002)     (describing     shareholder       derivative        action   as

 complex).       Therefore, the Individual Defendants have failed to

 explain why jurors may be capable of understanding the antitrust

 and derivative claims if tried separately, but would be confused

 by the same claims if faced with them in the same proceeding.

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                               IV. CONCLUSION


       For   the   reasons   stated   above,    the   Motions   to Dismiss   of

 Defendants Moss, Hall, Hurlbut, Merrilli, and Norfolk Southern

 are DENIED.       ECF Nos. 29, 31, 34.        Defendant Belt Line's Motion

 to Dismiss is GRANTED IN PART AND DENIED IN PART.                ECF No. 27.

 The Court PROVIDES Plaintiff with leave to amend the Complaint

 to cure defects with respect to Count Vll-tortious interference-

 within ten (10) days after the entry of this Order.                The joint

 motion for a hearing, ECF No. 43, is DENIED.

       The Clerk is REQUESTED to send a copy of this Opinion and

 Order to all counsel of record.


       IT IS SO ORDERED.




                                                  Mark S. Davis
                                      CHIEF UNITED STATES DISTRICT JUDGE


 Norfolk, Virginia
 September ^       , 2019




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